USCA4 Appeal: 23-4549      Doc: 31         Filed: 08/26/2024     Pg: 1 of 3




                                             UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                               No. 23-4549


        UNITED STATES OF AMERICA,

                             Plaintiff - Appellee,

                      v.

        MICHAEL SHAWNDALE DAVIS, a/k/a Diddy,

                             Defendant - Appellant.



        Appeal from the United States District Court for the Northern District of West Virginia, at
        Wheeling. John Preston Bailey, District Judge. (5:22-cr-00024-JPB-JPM-1)


        Submitted: August 22, 2024                                        Decided: August 26, 2024


        Before WILKINSON, WYNN, and RICHARDSON, Circuit Judges.


        Affirmed by unpublished per curiam opinion.


        ON BRIEF: Brendan S. Leary, Assistant Federal Public Defender, OFFICE OF THE
        FEDERAL PUBLIC DEFENDER, Wheeling, West Virginia, for Appellant. William
        Ihlenfeld, United States Attorney, Clayton J. Reid, Assistant United States Attorney,
        OFFICE OF THE UNITED STATES ATTORNEY, Wheeling, West Virginia, for
        Appellee.


        Unpublished opinions are not binding precedent in this circuit.
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        PER CURIAM:

               Michael Shawndale Davis pleaded guilty to possession of ammunition by a felon,

        in violation of 18 U.S.C. § 922(g)(1). The district court imposed an upward variant

        sentence of 120 months’ imprisonment. On appeal, Davis argues that the sentence is

        substantively unreasonable. We affirm.

               We review a sentence, “‘whether inside, just outside, or significantly outside the

        [Sentencing] Guidelines range[,] under a deferential abuse-of-discretion standard.’”

        United States v. Torres-Reyes, 952 F.3d 147, 151 (4th Cir. 2020) (quoting Gall v. United

        States, 552 U.S. 38, 41 (2007)). “First, we evaluate the procedural reasonableness,

        determining whether the district court committed any procedural error, such as improperly

        calculating the Guidelines range, failing to consider the [18 U.S.C.] § 3553(a) factors, or

        failing to adequately explain the chosen sentence.” United States v. Nance, 957 F.3d 204,

        212 (4th Cir. 2020). If we find no procedural error, we then “proceed to assess the

        substantive reasonableness of the sentence.” Id.
               In considering the substantive reasonableness of a sentence, “we examine the

        totality of the circumstances to see whether the sentencing court abused its discretion in

        concluding that the sentence it chose satisfied the standards set for in § 3553(a).” Id. at

        215 (cleaned up). “Where, as here, the sentence is outside the advisory Guidelines range,

        we must consider whether the sentencing court acted reasonably both with respect to its

        decision to impose such a sentence and with respect to the extent of the divergence from

        the sentencing range.” Id. “That said, district courts have extremely broad discretion when

        determining the weight to be given each of the § 3553(a) factors, and the fact that a variance

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        sentence deviates, even significantly, from the Guidelines range does not alone render it

        presumptively unreasonable.” Id. (cleaned up). “Instead, we must give due deference to

        the district court's decision that the § 3553(a) factors, on a whole, justify the extent of the

        variance.” Id. (internal quotation marks omitted).

               Davis argues that the district court’s sentence was unreasonable because the court

        failed to consider the statutory sentencing goals and did not meaningfully consider Davis’

        personal history and mitigation arguments.         However, the district court thoroughly

        considered the purposes of sentencing in imposing the upward variance, highlighting

        Davis’ criminal history and the need to deter Davis from engaging in similar conduct.

        Additionally, the court explicitly considered Davis’ mental health and substance abuse

        issues, but nevertheless determined that the § 3553(a) factors justified Davis’ sentence.

        Based on a totality of the circumstances, we conclude that the sentence is reasonable.

               Accordingly, we affirm the district court’s judgment. We dispense with oral

        arguments because the facts and legal contentions are adequately presented in the materials

        before this court and argument would not aid the decisional process.

                                                                                         AFFIRMED




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